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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 ALANNA MAROTTA,

                   Plaintiff,
                                             Case No. 14-11149
 vs.                                         HON. GEORGE CARAM STEEH

 FORD MOTOR COMPANY, et al.,

               Defendants.
 _____________________________/

         ORDER DENYING PLAINTIFF’S MOTION IN OPPOSITION
            TO DEFENDANTS’ BILL OF COSTS (DOC. 116)
       Plaintiff Alanna Marotta brought this action, alleging that defendants

 Ford Motor Company, Michael Wendel, Michael Brudzinski, and Thomas

 Garrity discriminated and retaliated against her, and sexually harassed her

 in the workplace. A jury trial was held from October 11, 2016 to October

 17. 2016. The jury found no cause of action against defendants. This

 matter is presently before the Court on plaintiff’s motion in opposition to

 defendants’ bill of costs.

       The Clerk of Court issued a Taxed Bill of Costs granting costs for

 service fees, court reporter fees, and witness fees. (Doc. 114 at 1).

 Plaintiff petitions the Court to review this Bill of Costs and deny Angelo

 Marotta’s witness fee and all but one of the court reporter fees.

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       Angelo Marotta’s witness fees are taxable pursuant to section

 (II)(E)(1)(a) of the Court’s Bill of Costs Handbook. Additionally, all of

 defendants’ requested court reporter fees are taxable under section

 (II)(C)(1)(d) of the Court’s Bill of Costs Handbook. Every deposition

 transcript at issue was used in support of a motion and defendants

 provided the taxation clerk with the title of the motion, the date it was filed,

 and the exhibit number. Further, excerpts of the deposition transcripts

 used in support of these motions were attached as exhibits to the motions.

       Therefore, plaintiff’s motion in opposition to defendants’ bill of costs is

 DENIED. The Court awards defendants $6,680.49 in costs.

       IT IS SO ORDERED.

 Dated: February 23, 2017

                                            s/George Caram Steeh
                                            GEORGE CARAM STEEH
                                            UNITED STATES DISTRICT JUDGE


                                 CERTIFICATE OF SERVICE

                  Copies of this Order were served upon attorneys of record on
                     February 23, 2017, by electronic and/or ordinary mail.

                                     s/Marcia Beauchemin
                                         Deputy Clerk




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